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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

 STACY DEEMAR,                  )
                                )
         Plaintiff,             )
                                )
 v.                             ) Case No. 1:21-cv-3466
                                )
 BOARD OF EDUCATION OF THE CITY ) Judge John J. Tharp, Jr.
 OF EVANSTON/SKOKIE (“DISTRICT )
 65”), et al.,                  )
                                )
         Defendants.            )


     UNOPPOSED MOTION REQUESTING THE COURT TO HOLD A STATUS
    CONFERENCE AND OPPOSED MOTION TO SET A DISCOVERY SCHEDULE


       Plaintiff Stacy Deemar respectfully moves this Court for to hold a status conference and

set a discovery schedule in this case. In support of this motion, Ms. Deemar states as follows:

       1.      On June 29, 2021, Ms. Deemar filed her complaint against Defendants. (Doc. 1.)

On August 30, 2021, Defendants filed a motion to dismiss (Doc. 20) and one attachment: the

Declaration of Stacy Beardsley. (Doc. 21-1.) Ms. Deemar responded on October 20, 2021 (Doc.

29), also filing that same day a motion to strike the Declaration of Stacy Beardsley. (Doc. 30.)

       2.      Defendants completed their briefing on the motion to dismiss on November 24,

2021. (Doc. 36.) Ms. Deemar completed her briefing on the motion to strike on December 7, 2021.

(Doc. 38.)

       3.      On September 27, 2022, this Court entered an order striking both motions without

prejudice and ordering their reinstatement instanter upon the filing of supplemental briefs as

requested by the Court. (Docs. 41, 42.) The parties complied with the Court’s order for additional

briefing on October 19, 2022, and November 9, 2022 (Docs. 44, 45) and this Court reinstated the
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motion to dismiss. (Doc. 46.) The docket entry did not specifically address the motion to strike;

however, the Court’s prior order indicated that it would be reinstated instanter upon the filing of

the supplemental briefs. (Doc. 42.)

       4.      On July 10, 2023, Ms. Deemar filed a notice of supplemental authority, alerting the

Court to the recent Supreme Court decision of Students for Fair Admissions v. President and

Fellows of Harvard College, 600 U.S. 181 (2023) and explaining how this case supported her

arguments in opposition to the motion to dismiss. (Doc. 52.) This Court then ordered that any

response be filed by July 18, 2023. (Doc. 53.) Defendants did so that day. (Doc. 54.)

       5.      On March 8, 2024, Ms. Deemar filed a notice of supplemental authority, alerting

the Court to the recent federal court decision of Diemert v. City of Seattle, No. 2:22-cv-1640, 2023

U.S. Dist. LEXIS 151683 (W.D. Wash. Aug. 28, 2023) and explaining how this case supported

her arguments in opposition to the motion to dismiss. (Doc. 56.) This Court then ordered that any

response be filed by March 18, 2024. (Doc. 57.) Defendants did so that day. (Doc. 58.)

       6.      While Ms. Deemar awaits this Court’s rulings, she remains employed at District 65

under conditions that are materially unchanged and that, as pled, routinely subject her to unlawful

racial stereotyping, discrimination, and a hostile educational environment (Doc. 1 at ¶¶ 161-193.)

       7.      The Parties have not, to date, engaged in any discovery in a case filed almost three

years ago.

       8.      Plaintiff believes that engaging in discovery at this time will speed the ultimate

resolution of this case once the pending motions have been decided, and that setting a discovery

schedule in the case pursuant to Rule 26 will aid the parties in reaching a resolution.

       9.      Plaintiff requests that the Court set a date for a status conference in the case at which

time a discovery schedule can be set by the Court.



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       10.     Defendants do not oppose the setting of a status conference.

       11.     Defendants do oppose the setting of a discovery schedule. The parties have agreed

to the following briefing schedule: 14 days from the date of this filing to file a response and seven

days from the date of the filing of the response to file any reply.

                                          CONCLUSION

       Ms. Deemar thus respectfully moves the Court to set a date for a status conference before

the court and, at that time, set a discovery schedule for the case.

                                                                      Respectfully submitted,

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on June 5, 2024, a copy of the foregoing was filed electronically.

Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties

indicated on the electronic filing receipt. All other parties will be served by regular U.S. Mail

and/or facsimile. Parties may access the filing through the Court’s electronic filing system.

                                                                      /s/ Braden H. Boucek
                                                                      BRADEN H. BOUCEK




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